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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :         Case No. 22-cr-00158-RC
                                            :
KYLE FITZSIMONS,                            :
                                            :
                 Defendant.                 :


                         NOTICE OF ATTORNEY APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to

Assistant United States Attorney Michael M. Gordon, detailed to the United States Attorney’s

Office for the District of Columbia,       who        may   be   contacted   by   telephone   at

813-274-6370     or   by    email    at michael.gordon3@usdoj.gov. This is notice of his

appearance in this matter on behalf of the United States. Mr. Gordon joins Mr. Brasher and

Ms. Jafary-Hariri, who remain assigned to the case.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney DC
                                            Bar No. 481052


                                    By:           /s/ Michael M. Gordon
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